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         EXHIBIT A
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                                                                                                    US010721542B2

  (12) United
       Ezequiel
                States Patent                                                (10 ) Patent No.: US 10,721,542 B2
                                                                             (45 ) Date of Patent:   Jul. 21, 2020
  ( 54 ) METHOD AND DEVICE FOR PROVIDING A                              (56 )                         References Cited
         MAIN CONTENT AND AN EXTRA CONTENT
          TO A USER THROUGH REFERENCE ITEM                                                   U.S. PATENT DOCUMENTS
  ( 75 ) Inventor : Ruiz Rodriguez Ezequiel, Panama                              5,684,525 A    11/1997 Klosterman
                    (PA )                                                        6,349,410 B1 * 2/2002 Lortz                 HO4N 5/76
                                                                                                                             375 /E7.021
  (73 ) Assignee: Naxos Finance SA , Luxembourg (LU )                                                    (Continued )
  ( * ) Notice:     Subject to any disclaimer, the term of this                          FOREIGN PATENT DOCUMENTS
                    patent is extended or adjusted under 35             CN                        1185257 A     6/1998
                    U.S.C. 154 (b ) by 0 days.                          CN                        1352765 A     6/2002
  (21) Appl. No.:        14 /396,843                                                                     (Continued )
  ( 22 ) PCT Filed : Apr. 26 , 2012                                                               OTHER PUBLICATIONS
  ( 86 ) PCT No .:        PCT/EP2012 / 057644                           International Search Report for Application No. PCT/EP2012 /
                                                                        057644 dated Dec. 12, 2012 .
         $ 371 (c ) (1 ),
         (2 ), (4 ) Date: Dec. 4 , 2014                                                                  (Continued )
  (87 ) PCT Pub . No .: W02013/ 159817                                  Primary Examiner               Yassin Alata
         PCT Pub . Date : Oct. 31, 2013                                 (74 ) Attorney, Agent, or Firm Workman Nydegger
  (65)               Prior Publication Data                             (57 )                           ABSTRACT
         US 2015/0128169 A1 May 7 , 2015                                A method for providing a main content and an extra content
                                                                        to a user by accessing said extra content through a reference
  (51) Int. Ci.                                                         item . Themethod includes receiving said main content from
         H04N 21/81               ( 2011.01 )                           a first source and displaying said main content by said first
         H04N 5/445               (2011.01)                             device . Also , based on said reference item , said extra content
                            (Continued )                                is retrieved and/ or received from a second source and
  (52) U.S. CI.                                                         simultaneously displayed together with said main content on
        CPC       H04N 21/8133 ( 2013.01) ; H04N 5/44543                said first device . Or said reference item may be forwarded to
                       (2013.01); H04N 5/44591 (2013.01) ;              a second device , and thereby said extra content is retrieved
                                                                        and /or received from a second source by said second device
                         (Continued )                                   and , simultaneously, the main content is displayed on said
  (58 ) Field of Classification Search                                  first device and the extra content is displayed on said second
        CPC           HO4N 21/4722 ; HO4N 21/2187; H04N                 device .
                                 21/234345; H04N 21/4223 ;
                         (Continued )                                                        14 Claims, 3 Drawing Sheets




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                       (2013.01); HO4N 2005/441 ( 2013.01)          mation , Inc., 2008, Mas I et al: “ IPTV session mobility ” (XP
  (58 ) Field of Classification Search                              002677649), Database accession No. E20090111839615 abstract &
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                                                  H04N 21/8547      munications and Networking in China . Chinacom 2008. 2008 , Inst.
           USPC                                       725 /32–36    of Elec . and Elec. Eng . Computer Society US. 2008. pp . 902-908
           See application file for complete search history.        DOI: DOI: 10.1109 /Chinacom.2008.4685170 .
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     METHOD AND DEVICE FOR PROVIDING A                                Patent law , e.g. , they allow for elements not explicitly
    MAIN CONTENT AND AN EXTRA CONTENT                                 recited , but exclude elements that are found in the prior art
       TO A USER THROUGH REFERENCE ITEM                               or that affect a basic or novel characteristic of the invention .
                                                                         It is further noted that the invention does not intend to
     The present application claims priority from PCT Patent 5 encompass within the scope of the invention any previously
  Application No. PCT/EP2012/057644 filed on Apr. 26 , disclosed product, process ofmaking the product or method
  2012 , the disclosure of which is incorporated herein by of using the product, which meets the written description
  reference in its entirety .                                  and enablement requirements of the USPTO (35 U.S.C. 112 ,
                                                               fast paragraph ), such that applicant(s ) reserve the right to
                 FIELD OF THE INVENTION                            10 disclaim , and hereby disclose a disclaimer of, any previously
                                                                      described product, method of making the product, or process
     It is noted that citation or identification of any document of using the product.
  in this application is not an admission that such document is
  available as prior art to the present invention .                             SUMMARY OF THE INVENTION
     The present invention relates to methods and devices for 15
  providing a main content and an extra content to a user by          It would therefore be desirable to provide a main content
  accessing the extra content through a reference item and by and an extra content to the user by accessing the extra
  displaying the main content and the extra content. The content through a reference item , while enabling the user to
  present invention relates in particular to Smart TVs; TVs, simultaneously display both . In addition, it would be gen
  PCs, note books, tablet PCs and other similar devices which 20 erally desirable to update the extra content in accordance to
  are capable to receive and display audio and video contents a change of the main content.
  and, in addition , to retrieve and display additional contents       The present invention addresses the above mentioned
  or data as an extra content. The extra content is retrieved ,by needs through a method according to a first aspect of the
  linking a reference item which leads to a source that pro present invention , providing a main content and an extra
  vides the extra content.                                       25 content to a user by accessing said extra content through a
    It is known that common broadcasted contents which are            reference item . Said method is characterized by first step in
 broadcasted over air, extra - terrestrial equipment, networks,       which said main content is received from a first source and
 internet or cable television contain additional information or       displayed by said first device. In a second step the reference
 references (hereinafter referred to as reference item ) which item is redirecting to said extra content originated from a
 can be tracked by the user and can be displayed on the same 30 second source . In a third step the extra content is displayed
 device . The reference items are provided as a subtitle , simultaneously to said main content on said first device or
 metadata , teletext or the like. The reference items are alternatively said reference item is forwarded to a second
 broadcasted together with the broadcasted main content and device and thereby said extra content is retrieved from a
  the current systems have the disadvantage to force in prac second source and is reproduced on said second device
 tice the user to leave the main content for tracking the 35 simultaneously to said main cont on said first device . Gen
 reference item and get access to an extra content. Extra erally the extra content is changed in correspondence to a
  content means any kind of additional information or data change of said main content.
  related to the main audio video content, aiming at deepening In accordance with the previous explanations, the main
  the subject of the main content and providing additional            content is broadcasted over a first source by a service
  information to the user. The term extra content is also used 40 provider , television broadcaster, internet provider or any
  for other kinds of additional information not directly related      kind of source which is foreseen to transmit multimedia
  to the subject of the main content, such as advertisement.          contents consisting of audio visual information . The main
     Another disadvantage of the current systemsrelies in the         content is for example represented by a television pro
  limitation to use the same device used to reproduce the main        gramme, internet TV programme ormultimedia content. The
  content also for reproducing the extra content. An interac- 45 aforementioned contents can be provided over a set -top box
 tion of the latter device with another device is not possible which is supported by a specific provider. The main content
 or very limited . The aforementioned drawback is particu        is received from the first source and is displayed on a first
 larly evident when the main content and the extra content device. The aforementioned first device refers to devices
 have different sources, for example when the main content such as TVs, Smart TVs, note books, PCs, tablet PCs, smart
 is broadcasted by a TV broadcaster and the extra content is 50 phones or the like which are capable of receiving the
 stored on a server and is accessible over an interact con       above -mentioned main contents or any other type of known
 nection. Hence a user willing to display an extra content is data types or formats processable or displayable by elec
 forced to leave the main broadcasted content in order to tronic devices. At the reception of any kind of reference
 retrieve and display the extra content. Consequently, current items, the method according to the present invention
 systems limit the user to impractical interactions. In other 55 includes two options to process and display said extra
 words the user is limited to choose between the main content content. The first option is retrieving said extra content from
 and the extra content. This implies that the user does not a second source over the linked reference item . The second
 dispose on the option to be re -directed to the extra content source is characterized by being different from the first
 from a different source while keeping the main content source . The first source and the second source are distin
  simultaneously available and displayed to the user.            60 guishable by broadcaster, system provider, location of the
     It is noted that in this disclosure and particularly in the server, type of content retrieved or by the interface used to
  claims and /or paragraphs, terms such as “ comprises ” , “ com    access and retrieve contents . According to the aforemen
  prised” , “ comprising ” and the like can have the meaning tioned first option , generally extra content and main content
 attributed to it in U.S. Patent law ; e.g. , they can mean           are simultaneously displayed on the first device. The simul
 “ includes” , “ included ” , “ including” , and the like; and that 65 taneous displaying of main content and extra content
 terms such as “ consisting essentially of” and “ consists includes different positioning of both contents on different
  essentially of” have the meaning ascribed to them in U.S.           areas of the display of the first device , overlapping of both
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  contents in which each of the displayed contents has a            the options of transmitting the reference data over a wired or
  different rate of transparency or by portioned displaying of      wireless connection to the second device .
  the main content and the extra content on the display of the        In a further embodiment, the reference item is provided to
  first device comparable to a picture in picture presentation .    the second device by scanning the reference item displayed
 According to the second option the reference item is for- 5 on the first device via said second device . Such reference
  warded to a second device which can be one of the afore    item will then be processed according to the explanation
 mentioned types . The different types of the second device above The latter possibility is particularly advantageous
  are also covered by the scope of the term of the first device . when using existing visual codes systems, such as QR
  In this case the extra contentoriginated from a second source 10 codes , bar codes or optical machine -readable data.
  is received by the second device and the extra content is          In a third aspect of the invention the reference item is
  displayed on the second device and not on the first device . available on the first device . The availability of the reference
 In this context the first device forwards the reference item to    item on the first device involves for example the storing of
 at least one second device . The user can track the main           the reference item as a primary reference item on the first
  content on the first device and deepen the main content by 15 device which is provided while producing (factory setting )
 using a second device while accessing the extra content on the first device or retrieved by the first usage of the first
 the latter. Generally the extra content is changing in corre device. This means that the primary reference item can be
 spondence with a change of the main content. This step pre installed on the first device . The primary reference item
 keeps the extra content always updated according to the can be related to a specific broadcaster or network and can
 main content. The interaction of the user is made comfort- 20 lead to a source and /or service supported by the broadcaster
  able and simple by updating and providing automatically an        or network to retrieve further reference items or extra
  extra content which is related to the main content. It is clear   contents .
  that in both the previous cases, because the contents are             In another embodiment the extra content is related to the
  changing continuously , the extra content must be correlated      main content. In this case the extra content is contextually
 to the main content, even if the extra content changes less 25 related to the main content so that by accessing the extra
 rapidly than the main content. In fact, if the main content is, content the user will receive additional content depending on
 for instance, related to a movie, the extra content will change the main content. This advantageous option can be used
 in relationship to the change of the various scenes. For doing from a broadcaster to provide content deepening information
 so it is necessary to link the main content and the extra to the user. In other cases, while the extra content is not
 content.                                                        30 related to the main content, the provided reference items
    In a preferred embodiment ofthe present invention , when from the broadcaster are pointing to extra contents such as
 the extra content feature is selected , this one does not change advertisements , additional information like in teletext or
 any more even if the main content is changing and new extra other information that is of economic interest for the broad
 content should be displayed in correlation to the changed caster.
 main content. This allows the user to finish reviewing the 35 In another aspect of the invention the first device is
 extra -content even if the main content has already changed . providing a look -up table containing identifiers ofsaid First
 When the user wants to see the next extra content, that in the sources and containing the reference items corresponding to
 meantime is correlated to the new main content, a confir            said first sources. This advantageous embodiment creates a
 mation and/or an input by the user is required for changing look - up table which is correlating the identifiers according
  the extra -content and making it correlated with the new main 40 to the first source (these can be for example the name of a
 content. For doing this a specific command key or a dedi specific broadcaster ) with the corresponding reference item
  cated icon should be provided in the control means of the which is related to the specific broadcaster or network . The
 first or second device , as well as a memory where the look -up table consists mainly of a list that contains the
  reference items are stored . Through this memory is also identifiers of the first source (names of the broadcasters or
 possible to scroll the reference items that are already flowed 45 networks) and the corresponding reference items. The listing
 before arriving to the one related to present new displayed and /or displaying of the corresponding reference items is not
 main content. For making this feature available, it is nec         essential and can be kept in the background with the result
 essary to have also a memory of the reference items flowed that the user can just select the identifier of a specific
  in recent time on the site of the source of the reference items. broadcaster or network to retrieve the related extra content.
 Of course a specific command key or dedicated icon should 50 The assignment of the reference itemsto the corresponding
 be provided for freezing the flow of the reference items, sources can also be done automatically by the device , if the
  instead of freezing them automatically when the extra con        device having to display the extra content is programmed
 tent is selected , In any case also command key or dedicated accordingly . The look -up table is to facilitate the access of
  icon for allowing the new items to be viewed again in            the user to extra contents so that the extra content can be
 accordancewith the present main content or to scroll the past 55 received and displayed to the user even regardless of the
  ones, should be provided ,                                       actual main content watched by the user. Also in this
     In another embodiment, the method is using a reference embodiment the reference item can be forwarded to a second
  item which contains at least a metadata , and URL , an device for accessing the extra content on said second device .
  encrypted data, a hyperlink , a QR -code, a bar code, It is clear that this look -up table can have as many reference
 machine -readable data or optical machine-readable data. 60 items as many broadcasters or networks are programmed .
  The reference item according to one of the aforementioned           In an additional aspect of the invention the look -up table
  types is then processed by the first device , redirecting the is retrieved by tracking a look -up table path stored on the
  first device to an extra content and enabling said first device first device. This advantageous embodiment allows for a
  to receive and reproduce it. Alternatively said extra content path to be embedded in the first device during the production
  is forwarded to the second device, which can then be 65 phase , at the factory premises . A stored path for the look -up
 redirected to the extra content and can then receive and           table can be accessed while using the first device for the first
  reproduce it . The forwarding of the reference item includes      time or can be accessed and/ or be updated in specific periods
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 of time. The look -up table path leads to a source to retrieve        FIG . 2 is a front view of a first device 104 represented as
 the look -up table so that the look -up table is transmitted to     a TV , a first source 103 and a second source 105 represented
 the first device .                                                  as broadcasting stations in accordance with some embodi
    In a preferred embodiment the first source is a first           ments of the invention ;
 network or a first data base and the second source is a second 5 FIG . 3 is a front view of a first device 104 represented as
 network or a second data base .                                    a TV , a second device 106 represented as a tablet PC , a first
     In another preferred embodiment the first device is a TV source 103 and a second source 105 represented as broad
 or a projector and said second device is a tablet PC , casting stations in accordance with some embodiments of
 Smartphone , cellular phone , PC , laptop or a remote control. 10 theFIGinvention  ;
  The advantageous effects of the aforementioned embodi a TV, a. 4firstis asource     front view of a first device 104 represented as
                                                                                            103 and a second source 105 represented
 ment for usage as a first device and /or the second device are as broadcasting stations
 self - explanatory . The second device could be also a remote ments of the invention ; in accordance with some embodi
 control. The use of displays on remote controls is known to
 the person skilled in the arts and the combination of the 15 a FIG         . 5 is a front view of a first device 104 represented as
 present invention with more advanced remote controls can stationsthreeTV ,         first sources 103 represented as broadcasting
                                                                               in accordance with some embodiments of the inven
 be used to enhance the interactive use ofdevices that provide tion ; and
  contents to the users .                                              FIG . 6 is a front view of a first device 104 represented as
    In an aspect said remote control comprises an actuating a TV and a second source 105 represented as a broadcasting
 element to initiate said tracking of the reference item on said 20 station in accordance with some embodiments of the inven
 first device . According to the aforementioned embodiment tion .
 of the present invention , the remote control includes a
 specific activating element such as button , touch pad field or        DETAILED DESCRIPTION OF EMBODIMENTS
 a sensing area . The actuating element has preferably an
 easily identifiable shape, colour, position or a symbol on the 25 It is to be understood that the figures and descriptions of
 remote control.                                                     the present invention have been simplified to illustrate
    In an additional aspect of the present invention the first       elementsinvention
                                                                     present   that are, relevant for a clear, forunderstanding
                                                                                         while eliminating                       of the,
                                                                                                                    purposes of clarity
 device and said second device are paired over a network .           many other elements which are conventional in this art.
  According to this advantageous embodiment the first device
  and the second device are communicating with each other 30 elements
                                                             Those of areordinary skill in the art will recognize that other
                                                                            desirable for implementing the present inven
  over a network and can exchange data . This enables the user
  to have a more interactive use of the devices by enhancing tion
                                                               art ,
                                                                     . However, because such elements are well known in the
                                                                     and because they do facilitate a better understanding
 the communication between the devices .                       of the   present invention, a discussion of such elements is not
     According to a preferred embodiment the aforementioned 35 provided     herein .
 network is wireless LAN network (WLAN ), high speed              The    present  invention will now be described in detail on
 mobile network , internet, Bluetooth network or a Near Field the basis of exemplary embodiments .
  Chip (NFC ) network .                                           FIG . 1 is a front view of a first device 104 represented as
     In another embodiment of the present invention said a TV and a first source 103 represented as a broadcasting
  forwarding of said reference item is executed by scanning 40 station which is broadcasting a main content 100 and a
  said reference item by means of said second device . The           reference item 102. The first source 103 can also be a
  reference item provided by the first device can be scanned by different kind of broadcasting equipment, like an internet
  the second device and be processed further to access an extra connection providing for instance IP TV. The first device
  content.                                                      104 receives the main content 100 and the reference item
     According to the advantageous aspects of the present 45 102 and displays the main content 100 on the display of the
  invention , a device for performing one of themethods of the first device 104. The main content is symbolically depicted
 present invention is claimed . This covers the usage of TVs,        as a square, a triangle and a circle . The representation of the
 Smart TVs , note books , PCs, tablet PCs, smart phones or the       first source 103 by the broadcasting station does not mean
  like as the first device and / or second device .                  that the realization of the first source 103 is just limited to
    An advantageous embodiment of the invention is carried 50 transmits
                                                              a broadcasting station but rather to any kind of source which
                                                                        a main content and / or a reference item . Further
  out by providing extra content to the user while facilitating
 the change of the main content which is currently displayed examples for the first source 103 that is symbolically
 to the user. The foregoing embodiment enables the user to depicted as the broadcasting station are electronic servers ,
 jump/zap to other interesting main contents while displaying data storage devices (hard drives, SSD ,memory chips or the
 the same/previous extra content. In this case the synchroni- 55 like ) or storage media (Blue Ray discs, DVDs, CDs or the
 zation between the main content and the extra content must like ), and interact such as multimedia data . The first device
 be suspended for a while , for instance, until the main content 104 is symbolically depicted as a TV ,but this does not imply
 remains relating to the same broadcaster or network for a any kind of limitation to TVs while using a method accord
 while (few seconds ), meaning that the zapping is ended 60 ing to any embodiments of the present invention .
 and /or by an input or a confirmation by the user.                 FIG . 2 is a front view of the first device 104 represented
                                                                 as a TV , the first source 103 represented as a broadcasting
        BRIEF DESCRIPTION OF THE DRAWINGS                        station and a second source 105 represented by a server
                                                                 transmitting information coming from a database . The first
    FIG . 1 is a front view of a first device 104 represented as source 103 broadcasts a main content 100 and reference
 a TV and a first source 103 represented as a broadcasting 65 item 102 to be received by the first device 104. The first
 station in accordance with some embodiments of the inven        device 104 tracks the reference item 102 which leads to the
 tion ;                                                          second source 105 that provides extra content 101. The extra
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  content 101 provided by the second source 105 is transmit          consists of at least two columns. In a first column of the
  ted to the first device 104. The main content 100 and the look -up table the names of the broadcasters or networks
  extra content 101 are displayed upon request by the user on originated from each of the first sources 103 and are listed
  different areas of the display of the first device 104. The and in a second column the corresponding reference items
  extra content 101 is related to the main content 100 that 5 102 are listed . Each row of the look -up table 107 is con
  consists of one square, one triangle and one circle . The extra sisting of the name of a broadcaster or network and the
  content 101 is exemplary providing the number ofcorners of reference item 102 corresponding to the aforementioned
  the geometric figures of the main content 100. It should be       broadcaster. In this way the look -up table 107 gives an
  noted that the extra content 101 is not just limited to contents  overview of the different sources 103 so that a user is able
  that are related to the main content.                          10 to track a reference item 102 which belongs to a specific
     FIG . 3 is a front view of a first device 104 represented as broadcaster or network . The depicted lookup table 107
  a TV , a second device 106 represented as a tablet PC , a first provides the name of the upper first source 103 as S1 and the
  source 103 represented as a broadcasting station and a             reference item 102 of S1 as “ a ” , the name of the middle first
  second source 105 represented as a database. The first source      source 103 as S2 and the reference item 102 of S2 as “ b ” and
  103 broadcasts a main content 100 and a reference item 102 15 the name of the bottom first source S3 and the reference item
  which are received by the first device 104. The main content        102 of S3 as “ c ” .
  100 is displayed on the first device 104 and the reference   It is clear that in FIG . 5 , as well as in other embodiments
  item 102 is forwarded to the second device 106. The second of the present invention , the reference item 102 could be
  device 106 retrieves an extra content 101 based on the substituted by the primary reference item .
  reference item 102 received by the first device 104. The 20 FIG . 6 is a front view of a first device 104 represented as
  extra content 101 is then displayed on the second device 106 a TV and a second source 105 represented as information
  and the main content 100 is simultaneously displayed on the coming from a database . The first device 104 tracks a
   first device 104. The main content 100 is representing reference item 108 that leads to the second source 105 which
  geometric figures and the extra content 101 is representing is providing a look -up table 107. In this case the reference
  the number of corners of the aforementioned geometric 25 item 108 is provided by the first device 104 and not by a
  figures. According to the above-mentioned explanations and broadcaster as in FIG . 5. The content of the look - up table
  the descriptions of the previous figures, the first source 103 107 is the same as in FIG . 5 .
  and the second source 105 are not limited to the broadcasting       In another embodiment, the first device 104 or the second
  station or information coming from a database. For instance , device 106 are programmed with a single fixed meta
  the extra content can be retrieved through internet. In 30 reference- item , for example during the production phase ,
  addition , the employment of the second device 106 is not which can be accessed by the first device 104 or by the
  limited to a tablet pc.                                          second device 106. At the landing location of such meta
      FIG . 4 is a front view of a first device 104 represented as reference - item , the producer of the first device 104 or the
  a TV , a first source 103 represented as a broadcasting station producer of the second device 106 or another entity is
  and a second source 105 represented as information coming 35 keeping updated records of primary reference items or of
  from a database. The first source 103 is broadcasting just a reference items. Such primary reference items or reference
  main content 100 that is received by the first device 104. A     items can then be used by the first device 104 or by the
  reference item 102 is retrieved by the first device 104 while second device 106 to retrieve and reproduce extra contents .
  following the indication contained in a primary reference          While this invention has been described in conjunction
  item . Such primary reference item is containing the infor- 40 with the specific embodiments outlined above, it is evident
  mation to retrieve further reference items or extra contents .   that many alternatives, modifications, and variations will be
  Such primary reference item is stored on the first device 104 apparent to those skilled in the art. Accordingly , the pre
  while producing (factory setting ) the first device 104 or ferred embodiments of the invention as set forth above are
  retrieved during the first usage of the fast device 104. This intended to be illustrative,not limiting . Various changes may
  means that the primary reference item can be pre installed on 45 be made without departing from the spirit and scope of the
  the first device . Based on the reference item 102, the first      inventions as defined in the following claims.
  device 104 retrieves an extra content 101 from a second               The invention claimed is :
  source 105 tracking said reference item 102. The first device       1. A method for providing a main content and an extra
  104 is simultaneously displaying on different areas of the content to a user , said method comprising :
  display the main content 100 and the extra content 101. The 50 receiving a specific main content and metadata from a first
  main content 100 and the extra content 101 are represented             source and displaying said specific main content on a
  as geometric figures and the number of corners of the                  first device , wherein said metadata and said specific
  aforementioned geometric figures .                                    main content are broadcasted together from the first
      To be clear, in the case of a primary reference item               source, and wherein said metadata links said specific
  obtained through internet , the primary reference item can be 55      main content with an extra content ;
  the address of the broadcaster or network (for instance ;           forwarding said metadata to a second device, wherein :
  www.zdf.de/ZDFmediathek/) and the reference item 102                  the forwarding of said metadata is executed by scan
  can be the specific one related to the program presently seen             ning said metadata by said second device ,
  ( for instance : www.zdf.de/ZDFmediathek/Titanic—Folge                the second device receives said extra content from a
   1)                                                              60       second source , and
      FIG . 5 is a front view of a first device 104 represented as       said specific main content is displayed on said first
  a TV and three first sources 103 represented as three                     device while said extra content is displayed on said
  different broadcasting stations. The first device 104 receives             second device ;
  from each of the first sources 103 a main content 100 and a           wherein the extra content changes in correspondence to a
  reference item 102. The main contents 100 and the reference 65           change of the specific main content;
  items 102 are processed by the first device 104 and are              wherein the first source is different from the second
  presented in a look -up table 107. The look- up table 107                source ;
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                                                      US 10,721,542 B2
                                9                                                                    10
     wherein , when the extra content is selected , the extra               the second device receives said extra content from a
       content does not change even if the specific main                     second source, and
       content is changing , and any new extra content, which               said specific main content is displayed on said first
       correlates to the changing specific main content, is                   device while said extra content is displayed on said
       delayed from being displayed on the second device 5                   second device ;
       until such time as a confirmation or input is received at         wherein the extra content changes in correspondence to a
       the second device from the first device, and                         change of the specific main content;
                                                                         wherein the first source is different from the second
    wherein the confirmation or input is initially received at a            source ;
       command key of the first device , which is displaying             wherein the received specific main content and metadata
       the specific main content, such that the first device's 10           originate from the first source ;
       command key, when selected , provides the confirma                wherein , when the extra content is selected , the extra
       tion or input and further causes the second device to                content does not change even if the specific main
        display the new extra content.                                     content is changing , and any new extra content, which
     2. The method according to claim 1, wherein the extra                 correlates to the changing specific main content, is
  content changes only after the input or the confirmation is 15           delayed from being displayed on the second device
  received .
     3. The method according to claim 1 , wherein the first                until such time as a confirmation or input is received at
  device provides a look -up table containing identifiers of a             the second device from the first device, and
  plurality of first sources and corresponding plurality of 20 wherein             the confirmation or input is initially received at a
                                                                           command key of the first device , which is displaying
  metadata .
      4. The method according to claim 3 , wherein the look-up              the specific main content, such that the first device's
   table is retrieved by tracking a look -up table path stored on          command         key, when selected , provides the confirma
  said first device .                                                       tion or input and further causes the second device to
     5. The method according to claim 1, wherein the first                 display the new extra content.
                                                                        13. A method for providing a main content and an extra
   source is a first network or a first database, and wherein said 25 content
   second source is a second network or a second database .                     to a user, said method comprising:
      6. The method according to claim 3 , wherein the second           receiving   , by a first device , a specific main content and
   device is a remote control, which comprises an actuating                metadata       from a first source and displaying said spe
  element to initiate said tracking.                                       cific main content on the first device , wherein said
      7. The method according to claim 1, wherein the first 30             metadata and said specific main content are broad
  device and the second device are paired over a network .                 casted together from the first source , and wherein said
      8. The method according to claim 7, wherein the network              metadata       links an extra content to said specific main
  is an WLAN , a high speed mobile network , the Internet, a               content    ;
  Bluetooth network , or an NFC network .                                forwarding said metadata to a second device , wherein :
     9. The method according to claim 1, further comprising : 35            the forwarding of said metadata is executed by scan
     memorizing the metadata as a present metadata via a                       ning said metadata by said second device,
         memory , whereby said memory enables scrolling                     the second device receives said extra content from a
         through previous metadata that have already been                      second source, and
         memorized by the memory before the presentmetadata 40             said specific main content is displayed on said first
         was memorized .                                                       device while said extra content is displayed on said
       10. The method according to claim 1, wherein :                          second device ;
      the metadata is retrieved by the first device while follow        wherein     the extra content changes in correspondence to a
         ing an indication contained in a primary metadata ;                change      of the specific main content;
      said primary metadata comprises information to retrieve 45        wherein      the    first source is different from the second
          further metadata or extra contents; and                          source   ;
      said primary metadata is stored in a memory on said first         wherein , when the extra content is selected , the extra
         device , or is retrieved during a first usage of the first        content does not change even if the specific main
          device .                                                         content is changing , such that any new extra content
       11. An apparatus configured to perform the method 50                generated while an initial extra content is displayed is
  according to claim 1.                                                     stored in memory and is not presented until a confir
       12. A method for providing a main content and an extra              mation       or input is received to indicate that the new
  content to a user, said method comprising :                               extra content is to be correlated with the changing
      receiving a specific main contentand metadata from a first           specific main content; and
          source and displaying said specific main content on a         wherein the confirmation or input is initially received at a
          first device, wherein said metadata and said specific 55         command key of the first device, which is displaying
         main content are broadcasted together from the first               the specific main content, such that the first device's
         source , wherein said metadata links an extra content to          command         key, when selected , provides the confirma
         said specific main content, and wherein said first source          tion or input and further causes the second device to
         includes a television broadcasting source and said first 60 14.display         the new extra content.
                                                                              The method of claim 13 , wherein the specific main
         device includes a television ;
      forwarding said metadata to a second device , wherein :         content overlaps with the extra content at one or more
         the forwarding of said metadata is executed by scan different rates of transparency.
          ning said metadata by said second device ,
